CaS€ 1-17-42547-688 DOC 27 Filed 02/01/18 Entered 02/01/18 13200:12

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

ln ret Case N0.17-42547-»ess

Chapter 7
Beris Baker,

Debtor(S)
__________________________________________________ X

LOSS MITIGATION FINAL REP()RT

Name of Lender; Specialized Loan Servicing LLC

 

Property Address: 233 East 92nd Street Brooklyn, New Yorl< 11212

 

Last Four Digits of Account Number of Loan: 0130

File Date of Request for Loss Mitigation: §/L/L_ll_

Date of Entry of OrdeJr Granting Loss Mitigation: 06/19/2017
Date of Entry of ()rde}zl Approving Settlement (ifany): N/A

Other Requests for Loss Mitigation in this Case: Yes 7 $/ No

The use Ofthe COWE'S LOSS Mitigation Procedures has resulted in the following (please
check appropriate the box below):

§ Loan modification

3 Loan refinance

§ Forbearance

E Short Sale.

\,,\ Surrender of property

E\ No agreement has been reached

\,,\ Other:

 

 

 

 

 

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Dated: Februarv 1, 2018 Signature: l " d

